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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Ubiquiti Networks, Inc.
                                       Plaintiff,
v.                                                        Case No.: 1:18−cv−05369
                                                          Honorable Gary Feinerman
Cambium Networks, Inc., et al.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, June 26, 2019:


        MINUTE entry before the Honorable Gary Feinerman:Motion for leave to file
excess pages [67] is granted. The parties may file principal briefs of up to 30 pages in
conjunection with the forthcoming motion to dismiss. Motion hearing set for 7/1/2019
[68] is stricken.Mailed notice.(jlj, )




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